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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Patrick Henry Building
                                                        601 D St., N.W.
                                                        Washington, D.C. 20539


                                                              June 26, 2023


Mark Schamel
Partner
Venable LLP
600 Massachusetts Avenue, NW
Washington, DC 20001

       Re: United States v. Lamond. No. 23-cr-177 (ABJ)
           Discovery Production No. 3

Dear Counsel:

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the government has made
available to you via USAfx its third production of material in the government’s files related to the
above captioned matter. The production will be available on USAfx for 60 days, at which point it
will expire. Please download a copy for your files prior to the expiration. This production is
covered by the Protective Order entered by the Court on May 24, 2023 (D.E. 10).

      The production contains materials covering the Bates range USAO-DC-381270 to USAO-
DC-00416265. This production includes the following:

 Document Type                                     Bates Range
 Investigative Case File and Grand Jury            USAO-DC-00381270-00382491
 Materials                                         USAO-DC-00389081-00403832
                                                   USAO-DC-00403833-00405525
                                                   USAO-DC-00415276-00416265
 Lamond MPD Phone                                  USAO-DC-00382492-00387981
 Interview Reports, Attachments and Notes          USAO-DC-00387982-00389080
 Documents Designated Sensitive                    USAO-DC-00389092-00389093
                                                   USAO-DC-00405526-00415275
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       Additionally, this morning, we sent you, via FedEx, a hard drive containing Grand Jury
Exhibit 3, which was data extracted from Mr. Tarrio’s phone.

        Through this production, the government has also provided, as a courtesy, material that is
not discoverable under Rule 16, the Jencks Act, or Brady, Giglio, and their progeny. The fact that
certain non-discoverable materials are provided in no way obligates the government to provide all
non-discoverable materials, and the fact that certain non-discoverable materials are provided
should not be taken as a representation as to the existence or non-existence of any other non-
discoverable materials.

        The government hereby requests reciprocal discovery to the fullest extent provided by Rule
16 of the Federal Rules of Criminal Procedure, including results or reports of any physical or
mental examinations, or scientific tests or experiments, and any expert witness summaries. I also
request that defendants disclose prior statements of any witnesses the defendants intends to call to
testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255
(1975). I request that such material be provided on the same basis upon which the government
will provide defendants with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, and 12.2, I request
that defendants provide the government with the appropriate written notice if defendants plan to
use one of the defenses referenced in those rules. Please provide any notice within the time period
required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY

                                              By:           /s/ Joshua S. Rothstein
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